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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                               )
NEALY L. SKELDON, Plaintiff,                   )        Case No. 1:25-cv-06078
                                               )
  v.                                           )
                                               )
                                               )        District Judge Joan B. Gottschall
DERMACARE USA CORPORATION,                     )
et al.,                                        )        Magistrate Judge Jeffrey T. Gilbert
                                               )
         Defendants.                           )
                                               )

                               INITIAL JOINT STATUS REPORT

         Pursuant to Judge Gottschall’s June 13, 2025 order [Dkt No. 9], parties are filing this

Initial Joint Status Report:

         1.     Requirement for preliminary meeting, prior to scheduled status report, between

opposing counsel to explore settlement opportunities and identify areas of agreement.

          On June 26, 2025, opposing parties’ counsel had a preliminary meeting to explore
         settlement opportunities and identify areas of agreement. Counsel present included
         Richard Winter and Doug Sweeney for the Defendants, and Thomas Koessl and Hilarie
         Carhill for the Plaintiff.

         2.     The attorneys of record and lead attorneys include:

         Counsel for the Plaintiff, Nealy L. Skeldon:

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                Chicago, IL 60601
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                Thomas C. Koessl (lead attorney) and Hilarie M. Carhill
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                221 N. LaSalle St.

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       Counsel for the Defendants Dermacare USA Corporation d/b/a DermaConcepts, Robert
L. Trow, Carol S. Trow, Michael Lucich, and Brittany Pike:

       Richard R. Winter (lead attorney), and William A. Ringhofer
       Holland & Knight LLP
       150 N. Riverside Plaza
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       3.      The basis of subject matter jurisdiction:

               This Court has subject matter jurisdiction pursuant to sections 5/2-209(a) and (b)
               of the Illinois Code of Civil Procedure (735 ILCS 5/2-209(a) and (b).

       4.      A brief description of (a) the nature and scope of the case; (b) the principal legal

issues; and (c) the principal factual issues:

               Plaintiff’s description:

                   a. The nature of this case is related to Plaintiff’s previous employment and
                      separation from Dermacare, and Dermacare’s ongoing efforts to enforce a
                      non-competition agreement and continue to use Plaintiff’s name and
                      identity for marketing purposes.

                   b. This case involves multiple legal issues, including allegations that
                      Defendants: cannot enforce the non-competition agreement that is
                      currently limiting Plaintiff’s employment; breached its contract with
                      Plaintiff; violated the Illinois Wage Payment and Collection Act (IWPCA);
                      continues to violate the Illinois Right of Publicity Act; engaged in
                      retaliatory discharge; intentionally inflicted emotional distress; engaged in
                      civil conspiracy; engaged in tortious interference with prospective
                      economic advantage; and accounting.

                   c. Factual issues include: whether Plaintiff experienced retaliation after she
                      was identified in another employee’s lawsuit, leading to her constructive
                      discharge; whether Plaintiff was paid everything that she was due under

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               Dermacare’s practices, her contract, and the IWPCA; whether Dermacare
               continued to/is using Plaintiff’s name and identity for marketing purposes
               after her employment ended and without her consent; and whether the
               non-competition agreement is enforceable.


        Defendants’ description:

           a. Nature and scope of the case: Plaintiff first alerted Defendants about her
              concerns regarding her employment when she submitted a written
              complaint to Robert Trow on March 20, 2025. This written complaint
              alleged discrimination, hostile work environment and discrepancies in
              Plaintiff’s pay, among other claims. Defendants took Plaintiff’s concerns
              seriously and, as such, hired an outside investigator to look into Plaintiff’s
              allegations. Plaintiff refused to cooperate with the investigation and
              essentially resigned her position less than two weeks after having
              submitted her written complaint. Counsel for Plaintiff and counsel for
              DermaConcepts then exchanged letters setting forth the parties’ positions,
              and Plaintiff subsequently filed a lawsuit against Defendants in Illinois
              state court on May 27, 2025. Defendants removed the case to this Court
              on May 30, 2025. The Individual Defendants filed a motion to dismiss for
              lack of personal jurisdiction and for failure to state a claim against all
              counts asserted against them. DermaConcepts filed a partial motion to
              dismiss as to three of the counts asserted against it.

           b. Principal legal issues include: (1) Whether the Non-Solicitation and Non-
              Competition Agreement Plaintiff signed with DermaConcepts in 2013 is
              enforceable; (2) Whether Plaintiff was properly compensated by
              DermaConcepts under the terms of her employment and in accordance
              with the requirements of the Illinois Wage Payment and Collection Act;
              (3) Whether DermaConcepts violated the Illinois Right of Publicity Act
              where approximately five marketing emails containing Plaintiff’s name
              were sent after Plaintiff resigned; (4) Whether Plaintiff can maintain a
              claim for retaliatory discharge against the Defendants that is premised
              solely on alleged violations of the Illinois Human Rights Act; (5) Whether
              Robert Trow’s actions as alleged in the Complaint (sending Plaintiff
              messages and memes, requiring her to travel to a meeting while Plaintiff
              had COVID-19 in 2023, ceasing contact with her, denying expense
              reimbursements and viewing Plaintiff’s LinkedIn profile) were extreme
              and outrageous so as to constitute intentional infliction of emotional
              distress; (6) Whether DermaConcepts engaged in a civil conspiracy with
              the Individual Defendants, and whether the Individual Defendants
              engaged in a civil conspiracy among themselves; and (7) Whether
              Defendants tortiously interfered with Plaintiff’s prospective economic
              advantage by having DermaConcepts’ counsel explain the company’s
              position on the enforceability of Plaintiff’s Non-Solicitation and Non-
              Competition Agreement in two letters to Plaintiff’s counsel.
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                  c. Principal factual issues include: (1) Whether Plaintiff violated her Non-
                     Solicitation and Non-Competition Agreement; (2) Whether Plaintiff was
                     compensated in accordance with the terms of her employment; (3)
                     Whether Plaintiff’s departure from DermaConcepts was a resignation or a
                     constructive discharge, and the date that Plaintiff’s resignation or
                     constructive discharge was effective; (4) Whether Plaintiff suffered
                     emotional distress so severe that no reasonable individual could be
                     expected to endure it; and (5) The extent of Plaintiff’s alleged damages, if
                     any.

         5.    Identify any parties who have not yet been served in accordance with Federal

Rule of Civil Procedure 4:

               None.

         6.    Do parties consent to reassignment of the case to the designated magistrate

judge?

               Parties do not consent to reassignment of the case to the designated magistrate
               judge.

         7.    Whether any party demanded or expects a jury trial:

               Plaintiff Nealy Skeldon demanded a jury trial.

         8.    Describe any discovery that has occurred and any anticipated in the future:

               Parties have not exchanged discovery yet. Parties anticipate that discovery will

               include written fact discovery and depositions.

         9.    Identify settlement opportunities:

               Parties have been engaging in ongoing settlement discussions, but discussions

               have not been fruitful.

         10.   Proposed deadline for filing the next status report and proposed discovery

schedule complying with Federal Rule of Civil Procedure 16(b)(3), including proposed deadlines

for joining parties, amending pleadings, completing discovery, and filing dispositive and other

motions.

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              Parties propose filing the next status report seven days after the Court rules on
              Defendants’ Motion to Stay or Motion to Dismiss. In that status report, parties
              plan to submit a proposed discovery schedule, complying with Federal Rule of
              Civil Procedure 16(b)(3) and including proposed deadlines for joining parties,
              amending pleadings, completing discovery, and filing dispositive and other
              motions.


Respectfully submitted,



DERMACARE USA CORPORATION,                          NEALY SKELDON,
    d/b/a/ DERMACONCEPTS,

By: /s/ Richard R. Winter (with permission)         By: /s/ Hilarie M. Carhill__________
One of the Attorneys for Defendants                 One of the Attorneys for Plaintiff


Richard R. Winter                                   Thomas C. Koessl (ARDC #6239337)
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